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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA

          v.                                     Case No. 23-cr-00490 (SHS)

 ROBERT MENENDEZ, et al.

          Defendants.


           MEDIA COALITION’S MOTION TO INTERVENE AND UNSEAL
      DEFENDANT SENATOR ROBERT MENENDEZ’S SEVERANCE MOTION

       NBCUniversal Media LLC d/b/a NBCUniversal News Group; Cable News Network,

Inc.; American Broadcasting Companies, Inc. d/b/a ABC News; Gannett Satellite Information

Network, LLC d/b/a Bergen Record; Politico, LLC; Fox News Network, LLC; New Jersey

Globe; WP Company LLC d/b/a The Washington Post; CBS Broadcasting Inc. d/b/a CBS News;

The E.W. Scripps Company o/b/o CourtTV and Scripps News; and NYP Holdings, Inc. d/b/a

New York Post; The Associated Press; Bloomberg L.P. (together, the “Media Coalition”), by and

through undersigned counsel, hereby move pursuant to Federal Rule of Criminal Procedure 47 to

intervene in this matter for the limited purpose of opposing Defendant Senator Robert

Menendez’s request to maintain under seal the unredacted version of his Memorandum of Law

In Support of His Motions to Dismiss Based on Lack of Venue and Duplicity, and His Severance

Motion, see ECF Nos. 136, 137, 251-1 (“Severance Motion”). In support of this Motion, the

Media Coalition relies on the accompanying Memorandum of Law In Support of Media

Coalition’s Motion to Intervene and Unseal Defendant Senator Robert Menendez’s Severance

Motion.
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       As explained therein, the Media Coalition’s intervention in this matter is proper in order

to vindicate the press’s and the public’s constitutional and common law rights of access to

judicial records, and Senator Menendez’s request to maintain his Severance Motion under seal is

without basis in law or fact. The Media Coalition therefore respectfully requests that the Court

grant its Motion to Intervene, and further that the Court deny Senator Menendez’s Letter Motion

Seeking Leave to Maintain Redacted Portions Under Seal, ECF No. 251, order the unredacted

version of his Severance Motion to be immediately filed on the public docket, and provide any

other relief the Court deems just and proper.



   Dated: April 5, 2024                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of April, 2024, I directed that a true and correct copy

of the foregoing MEDIA COALITION’S MOTION TO INTERVENE AND UNSEAL

DEFENDANT SENATOR ROBERT MENENDEZ’S SEVERANCE MOTION and

accompanying memorandum of law be served via U.S. Mail and electronic mail upon the

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